99 F.3d 1132
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES OF AMERICA, Plaintiff--Appellee,v.Haywood WILLIAMS, Jr., Defendant--Appellant.
    No. 96-6878.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  October 3, 1996Decided:  October 21, 1996
    
      Haywood Williams, Jr., Appellant Pro Se.  OFFICE OF THE UNITED STATES ATTORNEY, Norfolk, Virginia, for Appellee.
      Before ERVIN, LUTTIG, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his motion to reinstate a successive petition under 28 U.S.C. § 2255 (1988), amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.   We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.  United States v. Williams, Nos.  CR-80-14-N;  CA-96-60 (E.D.Va. May 17, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    